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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA



UNITED STATES OF AMERICA,               )         Case No. 8:13CB8
                                        )         Violation Notice No. 3577049 NE22
                                        )
                             Plaintiff, )
          vs.                           )            ORDER
                                        )
                                        )
EH LER,                                 )
                                        )
                             Defendant. )


     IT IS ORDERED:

       The court grants the defendant’s request to extend the time in which to pay his fine.

The warrant for defendant’s failure to appear shall be cancelled. This matter is scheduled

for hearing on September 24, 2013 at 9:00 a.m. in Courtroom No. 7, Second Floor, Roman

L. Hruska United States Courthouse, 111 South 18th Plaza, Omaha, Nebraska. The

defendant shall either pay the fine in full before this date or shall appear at hearing time,

or a warrant shall issue for his arrest.

       Dated this 27th day of August, 2013.


                                                   BY THE COURT:


                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
